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 8
                               UNITED STATES DISTRICT COURT
 9
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11                                               Case No. 4:21-mc-80084
   IN RE EX PARTE APPLICATION OF
12 WOORI BANK AND KWANG SEOK                     DECLARATION OF JAE HO KIM IN
13 KWON PURSUANT TO 28 U.S.C. § 1782             SUPPORT OF EX PARTE APPLICATION
                                                 TO ISSUE A SUBPOENA PURSUANT TO
14                           Applicants.         28 U.S.C. § 1782

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                                           -1-                                      Case No.
     SMRH:4835-9179-4659.6                        KIM DECLARATION ISO EX PARTE APPLICATION
                                                     FOR SUBPOENA PURSUANT TO 28 U.S.C. § 17
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 1                                     DECLARATION OF JAE HO KIM

 2                     I, Jae Ho Kim, declare as follows:

 3            1.       I am Deputy General Manager for Woori Bank (the “Bank”), a party in the above-

 4 entitled action. I have held this position for about 1 year. I have personal knowledge of the facts

 5 set forth herein, which are known by me to be true and correct, and if called as a witness, I could

 6 and would competently testify thereto.

 7            2.       This declaration is submitted in support of Applicants Woori Bank and Kwang

 8 Seok Kwon’s (“Applicant’s”) Ex Parte Application for Subpoena Pursuant to Section 1782.

 9            3.       Woori Bank is a Korean multinational bank and financial services company

10 established in 1899 and headquartered in Seoul. The vast majority of Woori Bank employees are

11 located in Korea.

12            4.       Mr. Kwang Seok Kwon has been the Representative Director (equivalent to the

13 president and CEO) of Woori Bank since March 24, 2020, and has been in charge of overseeing

14 and directing the financial services provided by the Bank.

15            5.       Woori Bank’s Representative Director must be elected through the Board of

16 Directors and general meeting of shareholders of Woori Bank. During February and March 2021,

17 Mr. Kwon was being considered for reelection as Representative Director pursuant to the Bank’s

18 rigorous selection and election process. More specifically, the “Executive Candidate
19 Recommendation Committee” (the “Committee”) is comprised of five outside directors of Woori

20 Bank, including the Chairperson. The Committee conducts a review with regard to a candidate’s

21 personal information, career, and whether or not a candidate satisfies the eligibility requirements

22 stipulated in the relevant regulations such as the Act on the Corporate Government of Financial

23 Companies and internal regulations. In particular, due to the nature of banks that require a high

24 level of integrity and compliance, the Committee conducts a high-level screening on the moral

25 aspects of candidates, to determine whether or not they meet the eligibility requirements.

26            6.       On February 16, 2021, in an apparent attempt to injure Mr. Kwon, improperly

27 influence the Bank’s election process, and prevent a fair election, an anonymous person or persons

28 began making posts on the social media platform called “Blind” attacking Mr. Kwon.
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     SMRH:4835-9179-4659.6                                    KIM DECLARATION ISO EX PARTE APPLICATION
                                                                 FOR SUBPOENA PURSUANT TO 28 U.S.C. § 17
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 1            7.       On February 16, 2021, the anonymous person with the username “Ijlij!llij” made a

 2 post to the Blind platform attacking Mr. Kwon. The February 16 post included a picture of a

 3 middle-aged man kissing a much younger woman on the cheek (“Photo”). Attached hereto as

 4 Exhibit 1 is a true and correct copy of the text of Ijlij!llij’s February 16, 2021 post in Korean, with

 5 the Photo. Attached hereto as Exhibit 2 is an English translation of Ijlij!llij’s February 16, 2021

 6 post together with the translator’s certificate attesting to the accuracy of the translation.

 7            8.       The February 16 post was posted the Woori Bank channel on the Blind platform

 8 that is only open to Woori Bank employees. As noted above, the February 16 post included a

 9 picture of a middle-aged man kissing a much younger woman on the cheek. As shown in Exhibits

10 1 and 2 hereto, the February 16 post falsely asserted that Mr. Kwon is the individual pictured in

11 the Photo with the much younger woman, that “behind [the employees’] back[s]” Mr. Kwon

12 “secretly had a drinking party while being physically affectionate with a young woman,” and that

13 Mr. Kwon was “hugging a woman who looks to be younger than his daughter.”

14            9.       On February 26, 2021, an anonymous person with the username “I Disagree”

15 reposted the Photo three times to the Woori Bank channel on the Blind platform, each time falsely

16 indicating that Mr. Kwon was the man in the Photo. These posts were made to the Woori Bank

17 channel on the Blind platform that is only open to Woori Bank employees. Attached hereto as

18 Exhibit 3 is a document containing a true and correct copy of the text of I Disagree’s three
19 February 26 posts in Korean, showing that each was posted with a copy of the Photo. Attached

20 hereto as Exhibit 4 are English translations of the text of I Disagree’s three February 26, 2021

21 posts, together with the translator’s certificate attesting to the accuracy of the translation. As

22 shown in Exhibits 3 and 4, One post by “I Disagree” said “Is this the time when you were

23 drinking in August, when COVID-19 was prevalent?”

24            10.      Also on February 26, 2021, an anonymous person with the username “Last

25 question” posted the Photo to the Woori Bank channel on the Blind platform falsely indicating the

26 person in the photo was Mr. Kwon by stating “Based on the angle of the Photo, it was taken from

27 the front – which means that the Photo must have been taken by an aide… can a leader who gets

28 betrayed even by his aide really be considered a leader?” This post was made to the Woori Bank
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     SMRH:4835-9179-4659.6                                  KIM DECLARATION ISO EX PARTE APPLICATION
                                                               FOR SUBPOENA PURSUANT TO 28 U.S.C. § 17
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